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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
                    NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES



This case has been assigned to:
                 District Judge George H. Wu
                 Magistrate Judge Rozella A. Oliver


The case number on all documents filed with the Court should read as follows:
                                  2:20−cv−05360 GW (RAOx)
District judges in the Central District of California refer all discovery-related motions to the
assigned magistrate judge pursuant to General Order No. 05-07. Discovery-related motions
should be noticed for hearing before the assigned magistrate judge. Please refer to the assigned
judges' Procedures and Schedules, available on the Court's website at www.cacd.uscourts.
gov/judges-requirements, for additional information.




                                                            Clerk, U.S. District Court

 June 17, 2020                                              By /s/ Luz Hernandez
    Date                                                       Deputy Clerk




                                          ATTENTION
The party that filed the case-initiating document in this case (for example, the complaint or the
notice of removal) must serve a copy of this Notice on all parties served with the case-initiating
 document. In addition, if the case-initiating document in this case was electronically filed, the
   party that filed it must, upon receipt of this Notice, promptly deliver mandatory chambers
 copies of all previously filed documents to the newly assigned-district judge. See L.R. 5-4.5. A
 copy of this Notice should be attached to the first page of the mandatory chambers copy of the
                                     case-initiating document.



CV-18 (08/19)              NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
